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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

                                                 )   COURT MINUTES B CIVIL
Darnell Crawford, Maudine Crawford, and          )   BEFORE: TONY N. LEUNG
Tracy Crawford, Joint Trustees for the Heirs and )   U.S. MAGISTRATE JUDGE
Next of Kin of DelShawn Crawford, deceased, )
                                                 )   Case No:            13-cv-2562 DWF/TNL
               Plaintiffs,                       )   Date:               September 27, 2017
                                                 )   Courthouse:         St. Paul
v.                                               )   Courtroom:          3C
                                                 )   Time Commenced:     10:30 AM
Laura Turner, individually and her official      )   Time Concluded:     1:30 PM
capacity as a Minneapolis Police Officer, and )      Time in Court:      3 Hours
Chad Meyer, individually and in his official     )
capacity as a Minneapolis Police Officer,

               Defendants.

Hearing on:   SETTLEMENT CONFERENCE

APPEARANCES:
Plaintiffs:    J. Ashwin Madia

Movant Hennepin County Medical Examiner’s Office:           Michael B. Miller, Melissa Lallak


PROCEEDINGS:
       Settlement reached. Terms stated on the record.


Other Remarks:

The parties should bring any dispute about terms of the settlement to the Court for resolution.


                                                             s/Holly McLelland
                                                            Courtroom Deputy
